Case No: 1:20cv1006                                                                                                         Filed: 10/02/20
                                                                                                                                    Doc. #3
  AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas
             TEXAS LEAGUE OF UNITED LATIN
             AMERICAN CITIZENS, NATIONAL
                                                                          )
             LEAGUE OF UNITED LATIN AMERICAN
             CITIZENS, LEAGUE OF WOMEN VOTERS                             )
             OF TEXAS, RALPH EDELBACH, and                                )
             BARBARA MASON                                                )
                                                                          )
                                  v.                     Plaintiff(s)
 GREG ABBOTT, in his official capacity as Governor of Texas, RUTH
                                                                          )
                                                                                  Civil Action No. 1:20-cv-01006-RP
 HUGHS, in her official capacity as Texas Secretary of State, DANA        )
 DEBEAUVOIR, in his official capacity as Travis County Clerk, CHRIS       )
 HOLLINS, in his official capacity as Harris County Clerk; JOHN W.
 OLDHAM, in his official capacity as Fort Bend County Elections
                                                                          )
 Administrator; LISA RENEE WISE, in her official capacity as              )
 El Paso County Elections Administrator                                   )
                                                         Defendant(s)     )

                                                    SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Greg Abbott
                                         Office of the Governor
                                         State Insurance Building
                                         1100 San Jacinto
                                         Austin, Texas 78701



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are:
                                         Chad W. Dunn, Esq.
                                         Brazil & Dunn, LLP
                                         4407 Bee Caves Road, Suite 111
                                         Austin, Texas 78746


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


  Date:      October 5, 2020
                                                                                               Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-1006-RP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
 AO 440 (Rev. 06/12) Summons in a Civil Action


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                                                                         )
Administrator; LISA RENEE WISE, in her official capacity as              )
El Paso County Elections Administrator                                   )
                                                        Defendant(s)     )

                                                   SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Ruth Hughs
                                        Texas Secretary of State
                                        1019 Brazos
                                        Austin, Texas 78701




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                                                                                        Printed name and title




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